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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

 Louis Okon,                                   )
                                               )     Case No. ______________
                                               )
       Plaintiff,                              )
                                               )      JURY TRIAL REQUESTED
 v.                                            )
                                               )
 Hide–A–Way Lake Club, Inc.,                   ) INJUNCTIVE RELIEF REQUESTED
                                               )
       Defendant.                              )

                 PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT

      COMES NOW, Plaintiff LOUIS OKON (“Okon” or “Plaintiff”), complaining of

Defendant HIDE-A-WAY LAKE CLUB, INC. (the “Club”), and in support alleges and

pleads the following:

                          I.     JURISDICTION AND VENUE

      1.       This action raises questions under the Constitution of the United States

and 42 U.S.C. § 1983, and further asserts a claim for declaratory judgment under

Federal Rule of Civil Procedure 57. Thus, this Court has jurisdiction over all claims

for relief pursuant 28 U.S.C. § 1331.

      2.       The causes of action and/or claims for relief asserted herein, to the extent

they are premised upon state laws, are subject to this Court’s supplemental jurisdiction

pursuant to 28 U.S.C. § 1367.

      3.       Jurisdiction is also conferred upon this Court by 28 U.S.C. § 1343(a)(3) and

(4), 28 U.S.C. §§ 2201 and 2202, and 42 U.S.C. §§ 1983 and 1998, this being an action
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for declaratory and temporary, preliminary, and permanent injunctive relief authorized by

law to redress deprivations under color of law of rights, privileges and immunities secured

by the Constitution of the United States.

       4.      At all times pertinent to this Complaint, and in taking all of the actions

described in this Complaint, Defendant acted under color of law and was effecting the

custom and policy of the City of Hideaway, Texas.

       5.      Pursuant to 28 U.S.C. § 1391, venue is proper in this Court because

Defendant’s principal place of business is in this district, the acts and/or omissions giving

rise to the claims asserted herein occurred in this district, and because the real property at

issue is located in this district.

                                       II.   PARTIES

       6.      Plaintiff is an individual and a resident and a citizen of the State of Texas.

Okon owns real property located at 1383 Hideaway Lane West, Hideaway, Texas 75771.

       7.      The Club is a Texas nonprofit corporation with its principal office at 101

Hideaway Lane Central, Hideaway, Texas 75771. As explained herein, the Club operates

as a state actor under color of law.

                             III.    CONDITIONS PRECEDENT

       8.      All conditions precedent to Plaintiff’s right to recovery under all claims for

relief set forth herein have been performed and/or occurred and/or were waived prior to the

filing of this lawsuit.




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                        IV.    THE CLUB IS A STATE ACTOR.

       9.     Local governments cannot act in violation of the provisions of the United

States or Texas Constitutions, nor can they sidestep those safeguards by delegating their

governmental functions to a third party. When a private party’s conduct is fairly

attributable to a municipality, it constitutes a “state actor” subject to constitutional

requirements and prohibitions.

       10.    The Club is a “state actor,” its conduct is fairly attributable to the state, and

it acts under color of state law.

       11.    Hideaway, Texas is located north of Interstate 20 about thirteen miles

northwest of Tyler in northwestern Smith County.

       12.    Hideaway was initially developed by James W. Faire of Tyler, Texas. The

property was deeded to the Club in 1969 and has been operated by the members since 1973

through a 12 member Board of Directors.

       13.    The City of Hideaway (the “City”) was incorporated as a Type B General

Law City in 2001 to prevent being annexed by a nearby city.

       14.    Encompassing almost 10 square miles, the City currently encompasses over

1,700 homes arranged around 235 acres of lakes.

       15.    The City has a total population of over 3,500 people (roughly the same

population as other Texas cities such as Llano, Port Aransas and Grand Saline).

       16.    The City is completely entwined with and governed by the Club.




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       17.    The City and the Club both list their principal place of business as 101

Hideaway Lane Central, Hideaway, Texas 75771.

       18.    The City has the same boundaries as the Club.

       19.    The City has no employees. All management, security, and common property

maintenance is handled by the Club.

       20.    The City does not provide public education for its residents. City residents

are served by the nearby Lindale Independent School District.

       21.    The City does not provide a police department. Instead, security personnel

employed by the Club patrol the streets and protect the safety of City residents. The

provision of police protection is a governmental function under Texas law. See TEX. CIV.

PRAC. & REM. CODE § 101.0215(a)(1).

       22.    The City does not provide emergency health services. Instead, the Club

provides EMT services to City residents. The operation of emergency ambulance service

is a governmental function under Texas law. See TEX. CIV. PRAC. & REM. CODE §

101.0215(a)(18).

       23.    The City has endowed the Club with powers and functions governmental in

nature, such as maintaining parks and recreational facilities, supplying security personnel

to patrol City streets, and providing emergency health services. See TEX. CIV. PRAC. &

REM. CODE § 101.0215(a).

                          V.     FACTUAL BACKGROUND

       24.    In or about February of 2007, Plaintiff purchased a lakefront home in


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Hideaway (the “Okon Property”) and, as such, became a member of the Club.

       25.    Almost a decade ago, another Hideaway family introduced Plaintiff and his

family to wake surfing on the lake adjacent to the Okon Property (the “Middle Lake”),

which is similar to wake boarding except that the “surfer” releases his or hold on the ski

rope once he or she is pulled up and surfs along the wave behind the boat hands-free.

       26.    Wake surfing is conducted at much lower speeds than other water sports such

as waterskiing, wake boarding, and tubing. In addition, wake surfing is much more

physically challenging, resulting in each “surfer” tiring much more quickly than he or she

might while water skiing, wakeboarding, or especially tubing. Thus, wake-surfers

generally make no more than 1 pass around the Middle Lake, compared with 2, 3, or more

passes around the lake that are made by water-skiers, wake boarders, and tubers.

       27.    In approximately 2020, Plaintiff purchased a Nautique wake-surfing boat

(which is equipped with surfing technologies including ballasts and wake tabs which are

used to shape and control the direction of the wake) so that he and his family could wake-

surf using their own boat, rather than having to rely on their friends across the lake to take

them on their boat (as they had been regularly doing for years). On information and belief,

Plaintiff’s Nautique boat was manufactured in Orlando, Florida and then sold through

interstate commerce.

       28.    As required by Club Rules and Regulations, Plaintiff registered that wake-

surfing boat with the Club, the Club accepted the registration and issued Plaintiff an official




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Hideaway decal to be displayed on the boat showing it was in compliance with Club Rules

and Regulations.

      29.      From 2020 through the present, Plaintiff and his children (as well as their

friends) have regularly participated in wake-surfing on Hideaway’s Middle Lake during

the summer months.

      30.      The following rules were already in effect in Hideaway prior to the enactment

of the Contested Rules that are challenged herein:

     a.     Texas State Law. Provides that boat operators are responsible for damages
            caused by destructive wakes. Boats that create large wakes, whether as a
            result of wakeboarding, slow speeds, the nature or design of the boat, or
            any other feature or act, must operate as far from the shoreline as possible
            while still maintaining a counterclockwise direction. The Security
            Department is responsible for advising the boat operator or member-owner
            of any violation, issuance of warnings, and enforcing the distance from the
            shore as described in these Rules. Fines, penalties, removal/or ban from
            the Lakes may be issued by the Security Department.

     b.     Ski boats, pulling skiers, wakeboarders, surfers, inflatable, or similar
            device (“towees”) must at all times have a minimum of two persons
            aboard. One is to be the boat operator and the other will be a responsible
            observer. Persons being towed (“towees”) must wear a Personal Flotation
            Device (PFD).

     c.     3. All boats, barges, and “towees” operating above idle speed must stay a
            minimum of 100 feet from the shoreline and any designated swimming
            area, as defined by marker buoys. Boats pulling “towees” should keep a
            minimum distance of 100 feet from other boats, canoes, or kayaks. It is
            not possible to safely maintain these distances in the channel areas of the
            Middle and third (3rd) lakes. In these areas, all boats should stay as far
            away from other boats and the shoreline as possible.

(Emphasis added).

      31.      While Plaintiff and his family have been wake-surfing on the Middle Lake



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for almost a decade, neither Plaintiff nor their friends who introduced them to wake-surfing

have ever been (a) assessed damages due to destructive waves, (b) advised of any violation

related to wake-surfing, issued a warning related to wake-surfing, assessed a fine or penalty

related to wake-surfing, or removed or banned from Hideaway lakes related to wake-

surfing.

       32.      In late 2023, two individuals, Pat Bonds (a prior Mayor of Hideaway and a

personal friend of Jerry Mullins, the Club President) and Diane Sheppard (Mr. Bonds’

neighbor) began complaining that their “sea walls” were deteriorating and, without any

credible basis or evidence, claimed that it was due to wake-surfing. However, neither Mr.

Bonds nor Ms. Sheppard had a functional “sea wall” at their property. In fact, Ms. Sheppard

has never installed a sea wall at her property, instead claiming that “God made her sea

wall” (which is simply the natural earth and rocks on her property).

       33.      Despite his close personal friendship with Mr. Bonds, Mr. Mullins, the Club

President, publicly advocated for a ban on wake-surfing in violation of the following

prohibition contained in the Club’s Bylaws: “A director shall abstain from advocacy of or

voting on any matter which involves an actual or potential conflict of interest between the

director’s personal relationships or those of the director’s immediate family and the affairs

of the Club.”

       34.      There is no credible evidence, and the Club has certainly not presented any,

supporting the contention that wake-surfing has any more effect on erosion of the sea walls

on the Middle Lake in Hideaway than other boating activities, such as water-skiing,


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wakeboarding, and tubing. In fact, during wake-surfing, Plaintiff can direct the wave to the

side of the boat furthest from the shore (in addition to the boat operating at a slower speed

and making fewer passes around the lake than during waterskiing, tubing, and wake

boarding).

       35.      Plaintiff presented information and evidence to the Club showing that wake-

surfing did not have a greater impact on sea walls on the Middle Lake than other water

sports and presented evidence showing that – despite their complaints - neither Mr. Bonds

nor Ms. Sheppard had a functional sea wall.

       36.      The Club wholly refused to investigate whether wake-surfing, in fact, had a

greater impact on sea walls than other water sports.

       37.      Initially, the Club proposed imposing certain restrictions on wake-surfing,

such as requiring the boats to direct their wakes away from the shoreline and remain at

least 200 feet from the shoreline.

       38.      Then, in late 2023 and/or early 2024, the Club scrapped potential rule

language merely imposing restrictions on wake-surfing and instead enacted the following

new rules (the “Contested Rules”):

     a.      All boats 22’ and larger, with the exception of pontoons, with V-Shaped
             Hull or similar configurations, and boats that produce artificial wake
             enhancement with the use of any mechanical/technology features such as
             bladders, ballasts, fins, trim, tabs, surf tabs, or any means of weight
             distribution or otherwise causing a boat to operate in a bow-high manner
             shall be strictly prohibited on all Hideaway Lakes. All existing registered
             boats as of the final date of the Board of Directors approval, are
             grandfathered until the boat is sold, transferred or the member moves out
             of Hide-A-Way Lake Club.


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     b.      Wake surfing and the artificial enhancement of waves by any means is
             prohibited on all Hideaway Lakes.

       39.     The Club failed to follow the Bylaw’s required procedures in enacting the

Contested Rules.

       40.     The Contested Rules are nonsensical and cannot possibly be enforced as

written. For example, all V-Shaped boats operate in a “bow-high manner” at certain

speeds. For instance, if pulling young kids on a tube at 12 miles per hour, the boat will not

plane and will operate with the front of the boat raised up until it goes fast enough to plane.

Also, when teaching children to ski, the boat is driven at slow speeds which causes the

front of the hull to be elevated in a “bow-high manner” the entire time the child is being

pulled behind the boat.

       41.     The Club did not consider, review, or rely on any study, report, or analysis

that supported the purported concern that wake-surfing caused more damage to sea walls

in the Middle Lake that other allowed water sports.

       42.     When Plaintiff bought his property in Hideaway, none of these restrictions

existed, and Plaintiff and his family were allowed to engage in boating activities with no

restrictions on the type of water sport. In addition to arbitrarily restricting Plaintiff’s

activities, the Contested Rules will likely deter certain buyers and diminish property values

in Hideaway.

                              VI.    CLAIMS FOR RELIEF

                                    First Claim for Relief
                           Declaratory Judgment, 28 U.S.C. § 2201


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       43.    Plaintiff reasserts each and every allegation contained in the preceding

paragraphs as if set forth herein fully.

       44.    Pursuant to 28 U.S.C. § 2201(a), the Court “may declare the rights and other

legal relations of any interested party seeking such declaration.”

       45.    This case involves an actual controversy between Plaintiff and the Club

regarding the constitutionality of the Contested Rules.

       46.    The Contested Rules’ discriminatory application to Plaintiff and wake-

surfing has injured Plaintiff and his family and has deprived Plaintiff of his right to due

process and equal protection of the laws.

       47.    Plaintiff is entitled to a declaration that the Club cannot enforce the Contested

Rules against Plaintiff. Plaintiff is further entitled to a declaration that the Contested Rules

are invalid and unenforceable under the Due Process and the Equal Protection Clauses of

the United States Constitution and Article 1, Sections 19 and 29 of the Texas Constitution.

       48.    Plaintiff’s rights, status, or other legal relations are affected by the actions

taken by the Club in adopting the Contested Rules. The Club’s actions as set forth in the

allegations above in this Complaint are illegal.

       49.     An actual controversy exists between Plaintiff and the Club and as to

Plaintiff’s legal rights in respect to the Contested Rules. This controversy involves an

actual, rather than a potential, dispute.




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       50.    The actions taken by the Club in adopting the Contested Rules should be

reviewed under the Court’s power to review a controversy and declare rights, status, or

legal relations pursuant to 28 U.S.C. § 2201 and Federal Rule of Civil Procedure 57.

                               Second Claim for Relief
      Deprivation of Equal Protection Rights in Violation of 42 U.S.C. § 1983

       51.    Plaintiff re-alleges and incorporates by reference herein the allegations in the

foregoing paragraphs of this Complaint as if fully set forth herein.

       52.    Under 42 U.S.C. § 1983, “[e]very person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of

Columbia, subjects, or causes to be subjected, any citizen of the United States or other

person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an

action at law, suit in equity, or other proper proceeding for redress . . . .”

       53.    The Equal Protection Clause of the Fifth and Fourteen Amendments to the

United States Constitution, and Article 1, Section 19 of the Texas Constitution ensure

protection from an arbitrary deprivation of an individual’s liberty or property interest

without due process of law.

       54.    Plaintiff has a constitutionally protected liberty and/or property interest in

the Okon Property, his wake-surfing boat, his wake-surfing board, and his right to conduct

recreational activities in the City of Hideaway free from illegal discrimination or

restriction. Indeed, the right to use one’s interest in land and property to any legitimate use

is properly within the protection of the United States and Texas Constitutions.

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       55.     The Club, under color of state law, has deprived and continues to deprive

Plaintiff of his equal protection rights, as secured by the Fifth and Fourteenth Amendments

to the United States Constitution and 42 U.S.C. § 1983.

       56.     The Club has no immunity from this claim under the Eleventh Amendment

to the United States Constitution.

       57.     The Equal Protection Clause of the Fourteenth Amendment prohibits any

state from denying “any person within its jurisdiction the equal protection of the laws.”

U.S. Constitution Amendment XIV, § 1.

       58.     The Equal Protection Clause prohibits governmental decision-makers from

treating differently persons who are in all relevant respects alike.

       59.     The Club’s use of classifications in the Contested Rules differentiates among

classes unreasonably to the detriment of Plaintiff’s liberty and property interests.

       60.     The Contested Rules are arbitrary, oppressive, and capricious and have no

reasonable relationship to the alleged harms sought to be prevented.

       61.     The Club has not identified how it can rationally justify preventing Plaintiff

from operating the boat of his choice and/or engaging in wake-surfing.

       62.     Thus, the Contested Rules appear to rest on an irrational prejudice against

people who engage in wake-surfing, rather than other similar water sports.

       63.    There is no legitimate governmental objective to be achieved by the

Contested Rules, and the Club’s enforcement of the Contested Rules is not reasonably

likely to achieve any legitimate governmental objective.


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       64.      There is no legitimate governmental objective furthered by banning boats

that “produce artificial wake enhancement with the use of any mechanical/technology

features such as bladders, ballasts, fins, trim, tabs, surf tabs, or any means of weight

distribution are capable of producing a wave for wake-surfing.” All motorized boats

produce artificial wake enhancement with the use of mechanical or technology features.

       65.       There is no legitimate governmental objective furthered by prohibiting

wake-surfing.

       66.      Even if a legitimate governmental objective for the Contested Rules could be

offered, there is no rational basis that Contested Rules actually further such an objective.

       67.      As a result of these deprivations in violation of the United States and Texas

Constitutions, Plaintiff is entitled to relief under 42 U.S.C. § 1983. Specifically, Plaintiff

is entitled to injunctive relief prohibiting the Club from enforcing the Contested Rules

against him and for damages suffered by him as a result of the Club’s constitutional

violations.

       68.      Without relief from this Court, the Club, acting under color of state law, will

continue to deprive Plaintiff of his rights guaranteed by the United States and Texas

Constitutions.

       69.      An award of reasonable attorneys’ fees as part of Plaintiff’s costs is justified

under 42 U.S.C. § 1988(b). Plaintiff’s claim for attorneys’ fees is cumulative, and therefore

increases the longer it takes to resolve this dispute.




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       70.     Plaintiff prays for the Order of the Court (a) finding that the Contested Rules

violate Plaintiff’s equal protection rights, (b) declaring the Contested Rules void and

unenforceable, (c) declaring that Plaintiff may engage in wake-surfing in the Middle Lake

in Hideaway, (d) awarding Plaintiff damages caused by the Club’s constitutional

violations, (e) awarding Plaintiff his attorneys’ fees, and (f) for such other and further relief

as this Court may deem just and proper under the premises.

                                  Third Claim for Relief
             Deprivation of Due Process Rights in Violation of 42 U.S.C. § 1983
                   as the Contested Rules are Unconstitutionally Vague

       71.     Plaintiff re-alleges and incorporates by reference herein the allegations in

foregoing paragraphs of this Complaint as if fully set forth herein.

       72.     Under 42 U.S.C. § 1983, “[e]very person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of

Columbia, subjects, or causes to be subjected, any citizen of the United States or other

person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an

action at law, suit in equity, or other proper proceeding for redress . . . .”

       73.     The Due Process Clause of the Fifth and Fourteen Amendments to the

United States Constitution and Article 1, Section 19 of the Texas Constitution ensure

protection from an arbitrary deprivation of an individual’s liberty or property interest

without due process of law.




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       74.      The Club, under color of state law, has deprived and continues to deprive

Plaintiff of his due process rights, as secured by the Fifth and Fourteenth Amendments to

the United States Constitution, 42 U.S.C. § 1983, and Article 1, Section 19 of the Texas

Constitution.

       75.      A law that either requires or forbids the doing of an act in terms so vague that

persons of common intelligence must necessarily guess at its meaning and differ as to its

application violates the Fourteenth Amendment to the United States Constitution and is

void for vagueness.

       76.      The test to determine whether the Contested Rules are unconstitutionally

void for vagueness is whether its language conveys a sufficiently definite warning as to the

conduct proscribed when measured by common understanding and practice. At its heart,

the test is a common-sense determination of fundamental fairness.

       77.      The Contested Rules are unconstitutionally vague as they require one to

guess at their meaning and allow for arbitrary enforcement.

       78.      As a result of these deprivations in violation of the United States and Texas

Constitutions, Plaintiff is entitled to relief under 42 U.S.C. § 1983. Specifically, Plaintiff

is entitled to injunctive relief prohibiting the Club from enforcing the Contested Rules

against Plaintiff and for damages suffered by Plaintiff as a result of the Club’s

constitutional violations.

       79.      Without relief from this Court, the Club, exercising governmental functions

and acting under color of state law, will continue to deprive Plaintiff of his rights


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guaranteed by the United States and Texas Constitutions.

       80.    In addition to actual damages, an award of reasonable attorneys’ fees as part

of Plaintiff’s costs is justified under 42 U.S.C. § 1988(b). Plaintiff’s claim for attorneys’

fees is cumulative, and therefore increases the longer it takes to resolve this dispute.

       81.    Plaintiff prays for the Order of the Court (a) finding that the Contested Rules

are unconstitutionally vague, (b) declaring the Contested Rules void and unenforceable, (c)

declaring that Plaintiff may engage in wake-surfing on the Middle Lake in Hideaway, (d)

awarding Plaintiff damages caused by the Club’s constitutional violations, (e) awarding

Plaintiff his attorneys’ fees, and (f) for such other and further relief as this Court may deem

just and proper under the premises.

                               Fourth Claim for Relief
    Deprivation of Substantive Due Process Rights in Violation of 42 U.S.C. § 1983

       82.    Plaintiff re-alleges and incorporates by reference herein the allegations in the

foregoing paragraphs of this Complaint as if fully set forth herein.

       83.    Under 42 U.S.C. § 1983, “[e]very person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of

Columbia, subjects, or causes to be subjected, any citizen of the United States or other

person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in an

action at law, suit in equity, or other proper proceeding for redress . . . .”

       84.    The Due Process Clause of the Fifth and Fourteen Amendments to the United

States Constitution, and Article 1, Sections 19 and 29 of the Texas Constitution ensure

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protection from an arbitrary deprivation of an individual’s liberty or property interest

without due process of law.

       85.    Plaintiff has constitutionally protected liberty and/or property interests in the

Okon Property, his boat, his wake-surfing board, and his right to engage in recreational

activities in the City of Hideaway free from illegal discrimination and/or restriction.

Indeed, the right to use one’s interest in property and land to any legitimate use is properly

within the protection of the United States and Texas Constitutions.

       86.    The Club, under color of state law, has deprived and continues to deprive

Plaintiff of his substantive due process rights, as secured by the Fifth and Fourteenth

Amendments to the United States Constitution, 42 U.S.C. § 1983, and Article 1, Sections

19 and 29 of the Texas Constitution.

       87.    Substantive due process is the constitutional guaranty that no person shall be

deprived of his life, liberty, or property for arbitrary reasons.

       88.    The Club does not possess plenary power to pass legislation or rules that are

arbitrary, oppressive, and capricious, and which bear no substantial relationship to the

public safety and welfare.

       89.    The guarantee of due process demands that the means selected shall have a

real and substantial relation to the objective sought to be obtained.

       90.    According to the Club, the purpose of the Contested Rules is to prevent

damage and erosion to sea walls on the Middle Lake in Hideaway.




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       91.    The Contested Rules are arbitrary, oppressive, and capricious and have no

reasonable relationship to the alleged harms sough to be prevented.

       92.    It is not a legitimate state purpose to restrict the types of boats that can be

purchased in interstate commerce, especially when the features the Club seeks to ban can

be disabled and/or not utilized.

       93.    Plaintiff is unaware of any report, study, or analysis that would support a

conclusion that wake-surfing results in more harm to sea walls on the Middle Lake in

Hideaway than other allowed water sports.

       94.    In passing the Contested Rules, it does not appear that the Club relied on any

evidence that could support its stated intent in passing the Contested Rules.

       95.    There is no evidence that wake-surfing causes more harm to sea walls on the

Middle Lake in Hideaway than other allowed water sports.

       96.    The Contested Rules do not have a real and substantial relation to the Club’s

objective.

       97.    It is arbitrary and capricious for the Club to conclude that wake-surfing

causes more damage to sea walls on the Middle Lake than other allowed water sports.

       98.    It is arbitrary and capricious for the Club to conclude that the types of boats

specified in the Contested Rules pose any threat or negative impact, especially when the

features at issue can be disabled and/or not utilized.

       99.    Likewise, there is no rational basis to allow water-skiing, tubing, and wake-

boarding on the Middle Lake but not allow wake-surfing on the Middle Lake.


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       100. Further, allowing Plaintiff to engage in wake-surfing on the Middle Lake in

Hideaway would not change the long-standing status quo. Plaintiff, his family, and his

friends have been engaging in that activity on the Middle Lake for over a decade.

       101. There is no legitimate governmental objective sought to be achieved by the

Contested Rules as it applies to Plaintiff.

       102. As a result of these deprivations in violation of the United States and Texas

Constitutions, Plaintiff is entitled to relief under 42 U.S.C. § 1983. Specifically, Plaintiff

is entitled to injunctive relief prohibiting the Club from enforcing the Contested Rules

against Plaintiff and for damages suffered by Plaintiff as a result of the Club’s

constitutional violations.

       103. Without relief from this Court, the Club, acting under color of state law, will

continue to deprive Plaintiff of his rights guaranteed by the United States and Texas

Constitutions.

       104. An award of reasonable attorneys’ fees as part of Plaintiff’s costs is justified

under 42 U.S.C. § 1988(b). Plaintiff’s claim for attorneys’ fees is cumulative, and therefore

increases the longer it takes to resolve this dispute.

       105. Plaintiff prays for the Order of the Court (a) finding that the Contested Rules

are unconstitutionally vague, (b) declaring the Contested Rules void and unenforceable, (c)

declaring that Plaintiff may engage in wake-surfing on the Middle Lake in Hideaway, (d)

awarding Plaintiff damages caused by the Club’s constitutional violations, (e) awarding




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Plaintiff his attorneys’ fees, and (f) for such other and further relief as this Court may deem

just and proper under the premises.

                                 Fifth Claim for Relief
           Violation of the Commerce Clause and Dormant Commerce Clause
                   U.S. Const. Art. I, Sec. 8, cl. 3, and 42 U.S.C. § 1983

       106. Plaintiff reasserts each and every allegation contained in the preceding

paragraphs of this Complaint as if set forth herein fully.

       107. “Every person who, under color of any statute, ordinance, regulation, custom,

or usage, of any State . . . subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws, shall be liable to the party

injured in an action at law, suit in equity, or other proper proceeding for redress.” 42 U.S.C.

§ 1983.

       108. The Commerce Clause of the U.S. Constitution grants Congress the power

“[t]o regulate commerce with foreign Nations, among the several States, and with the

Indian Tribes.” U.S. Const. art. I, § 8, cl. 3.

       109. In its dormant state, often called the Dormant Commerce Clause, the

Commerce Clause precludes States from enacting legislation that discriminates against or

impermissibly burdens interstate commerce. State laws that facially discriminate against

interstate commerce are invalid per se under the Commerce Clause. This is true also of

State laws that are facially neutral if they impermissibly burden interstate commerce in

practice. West Lynn Creamery v. Healy, 512 U.S. 186, 194–195 (1994).


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       110. Although the Dormant Commerce Clause is usually invoked to challenge

protectionist laws that favor in-state businesses over out-of-state businesses, the Clause has

a broader function: to guarantee for all citizens the right to access and participate in

interstate commerce. Just as no State can prevent out-of-staters from engaging in commerce

with its residents, no State may prevent its residents from participating in commerce with

those located in another State.

       111. The Contested Rules impermissibly restrict Plaintiff from exercising the right

to engage in interstate commerce.

       112. The Commerce Clause of the United States Constitution reserves the power

to regulate interstate and foreign commerce to Congress.

       113. Because these powers are reserved to Congress, individual states may not

unduly burden interstate commerce.

       114. The Contested Rules impose a burden on interstate commerce and on

Plaintiff that is clearly excessive in relation to the putative benefits.

       115. Accordingly, the Contested Rules are an unconstitutional regulation of and

interference with interstate commerce and/or an undue burden on in-state commerce in

violation of the Dormant Commerce Clause of the United States Constitution.

       116. The burdens the Contested Rules impose on interstate and foreign commerce

are clearly excessive in relation to their purported public purpose, and the Club’s local

interests in reducing erosion to sea walls can be promoted at least as well by other means

with less impact on interstate or foreign commerce.


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       117. The Contested Rules are not reasonably related to their purported intended

purpose of reducing erosion to sea walls. Moreover, to the extent it could be found that

wake-surfing does impact erosion of sea walls on the Middle Lake more than other

permitted water sports (which Plaintiff disputes), the purported purpose of the Contested

Rules could be achieved by placing restrictions on wake-surfing (such as the restrictions

originally contemplated by the Club concerning distance from the shore and direction of

the wake) rather than the wholesale banning of wake surfing boards, motorized surf boards,

and boats equipped with “mechanical/technology features such as bladders, ballasts, fins,

trim, tabs, surf tabs, or any means of weight distribution or otherwise causing a boat to

operate in a bow-high manner.”

       118. As a result of these deprivations in violation of the United States

Constitution, Plaintiff is entitled to relief under 42 U.S.C. § 1983. Specifically, Plaintiff is

entitled to injunctive relief prohibiting the Club from enforcing the Contested Rules against

Plaintiff and for damages suffered by Plaintiff as a result of the Club's constitutional

violations.

       119. Without relief from this Court, the Club, acting under color of state law, will

continue to deprive Plaintiff of his rights guaranteed by the United States and Texas

Constitutions.

       120. An award of reasonable attorneys' fees as part of Plaintiff's costs is justified

under 42 U.S.C. § 1988(b). Plaintiff's claim for attorneys' fees is cumulative, and therefore

increases the longer it takes to resolve this dispute.


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          121. Plaintiff prays for the Order of the Court (a) finding that the Contested Rules

are unconstitutionally vague, (b) declaring the Contested Rules void and unenforceable, (c)

declaring that Plaintiff may engage in wake-surfing on the Middle Lake in Hideaway, (d)

awarding Plaintiff damages caused by the Club's constitutional violations, (e) awarding

Plaintiff his attorneys' fees, and (f) for such other and further relief as this Court may deem

just and proper under the premises.

                                       Sixth Claim for Relief
                                          Injunctive Relief

          122. Plaintiff reasserts each and every allegation contained in the preceding

paragraphs of this Complaint as if set forth herein fully.

          123. The Contested Rules (a) violate the Commerce Clause of the United States

Constitution, (b) violate Article 1, Sections 19 and 29 of the Texas Constitution, and (c)

deprive and threaten to deprive Plaintiff of his rights guaranteed by the Fourteenth

Amendment to the United States Constitution to (i) be treated equally, (ii) to be free from

irrational, arbitrary, and capricious laws, and (iii) to be afforded due process of law, all of

which threaten to cause irreparable harm to Plaintiff for which there is no adequate remedy

at law.

          124. By reason of the Club’s conduct and threatened conduct and the irreparable

harm Plaintiff will suffer, Plaintiff is entitled to a temporary restraining order, preliminary

injunction, and, after final hearing, a permanent injunction demanded hereunder.

          125. Injunctive relief is authorized by the United States Code and Rule 65 of the

Federal Rules of Civil Procedure.

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                                   VII. ATTORNEY’S FEES

           126. It has been necessary for Plaintiff to secure the services of counsel to pursue

this matter, both in an attempt to settle the case without litigation, and to file and litigate

this lawsuit. Should Plaintiff prevail in this matter, Plaintiff respectfully requests that the

Court award reasonable and necessary attorney’s fees incurred in enforcing Plaintiff’s civil

rights.

                                       VIII. JURY DEMAND

           127. Plaintiff demands trial by jury on all issues of law or fact so triable.

                                 IX.    PRAYER FOR RELIEF

           WHEREFORE, the Plaintiff seeks judgment against the Club declaring and

adjudicating as follows:

      a.       For an ex parte preliminary order enjoining enforcement of the Contested Rules
               against Plaintiff;

      b.       Additionally, Plaintiff requests a hearing after proper service on Defendant, and
               upon such hearing, prays that a temporary injunction issue, enjoining
               enforcement of the Contested Rules pending further order of this Court, in order
               to maintain the status quo until this case has been fully litigated;

      c.       Additionally, Plaintiff prays for a declaratory judgment declaring the Contested
               Rules unconstitutional and unenforceable;

      d.       Additionally, Plaintiff prays for a permanent injunction enjoining enforcement
               of the Contested Rules.

      e.       Additionally, Plaintiff prays for a declaratory judgment declaring the Club to be
               a “state actor,” operating under the color of state law, and a pervasively
               intertwined state actor/agent of the City pursuant to 42 U.S.C. § 1983;

      f.       Additionally, Plaintiff prays for an award of actual, compensatory, special, and
               statutory damages;


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   g.   Additionally, Plaintiff prays for an award of attorney's fees and costs pursuant
        to 42 U.S.C. § 1988; and

   h.   Finally, Plaintiff prays for such other and further relief as Plaintiff may show
        himself to be justly entitled, at law or in equity.

                                           Respectfully submitted,


                                           s/Melanie Kemp Okon
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